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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


BOBBY SINGLETON, et al.,
          Plaintiffs,

              v.
                                                 Case No. 2:21-cv-01291-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,                       THREE-JUDGE COURT
            Defendant.


EVAN MILLIGAN, et al.,
          Plaintiffs,

              v.
                                                 Case No. 2:21-cv-01530-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,                       THREE-JUDGE COURT
            Defendant.


MARCUS CASTER, et al.,
         Plaintiffs,

              v.
                                                 Case No.: 2:21-cv-1536-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,
            Defendant.


Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:

                                         ORDER

      These congressional redistricting cases are again before the Court for an Order

setting discovery and pretrial deadlines. On January 11, 2024 the Court set these
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cases for trial on February 3, 2025. See, e.g., Singleton Doc. 225. And the Court

directed the parties to meet and confer and jointly propose a scheduling order for

discovery and all pretrial deadlines. Id. After the parties filed a Report of their

Planning Meeting, the Court held a scheduling conference on February 21, 2024.

      The Court has considered the parties’ positions with respect to the appropriate

schedule for discovery and pretrial proceedings, the serious time exigencies

surrounding the fair and timely resolution of these cases, including the provisions of

Alabama’s election law that set deadlines applicable to the 2026 congressional

elections (Alabama Code Section 17-13-5(a), which effectively establishes a

deadline of January 30, 2026 for candidates to qualify with major political parties to

participate in the 2026 primary election for the United States House of

Representatives and Senate, and Alabama Code Section 17-13-3(a), which

establishes the date of that primary election as May 26, 2026), and the extraordinary

and time-sensitive demands placed on the parties and the Court in connection with

these proceedings. On the basis of the reports and the conference, the Court

ORDERS the following deadlines:

   1. By agreement of the parties, any amended complaints were due on or before

      FEBRUARY 2, 2024.

   2. Plaintiffs’ expert reports are due on or before MAY 17, 2024.

   3. Defendants’ expert reports are due on or before JUNE 28, 2024.


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4. Plaintiffs’ supplemental expert reports are due on or before JULY 26, 2024.

5. Supplementation of disclosures and discovery under Federal Rule of Civil

   Procedure 26(e) is due within a reasonable period of time after discovery of

   such information (which ordinarily will be within twenty-one days of counsel

   becoming aware of the need to supplement), but in any event all such

   supplementation shall be provided no later than AUGUST 2, 2024.

6. All discovery shall be commenced in time to be completed on or before

   SEPTEMBER 6, 2024.

7. The parties shall file any dispositive motions on or before SEPTEMBER 20,

   2024.

8. The parties shall file any opposition to dispositive motions on or before

   OCTOBER 11, 2024.

9. The parties shall file any replies in support of dispositive motions on or before

   OCTOBER 25, 2024.

10.The parties shall file witness lists, designations of deposition testimony for

   trial, and exhibit lists under Rule 26(a)(3) on or before NOVEMBER 22,

   2024.

11.The parties shall file any motions in limine and Daubert motions on or before

   DECEMBER 6, 2024.




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   12.The parties shall file any opposition to motions in limine and Daubert motions

      on or before DECEMBER 20, 2024.

   13.The parties shall file any replies in support of motions in limine and Daubert

      motions on or before JANUARY 10, 2025.

   14. The Court will by separate order set a final pretrial conference to occur within

      30 days of FEBRUARY 3, 2025.

       Extensions for the deadlines set to complete all discovery and file

dispositive motions will not be granted absent extraordinary cause.

      The parties are urged to conduct discovery forthwith and not to wait until the

deadlines near to propound requests. Any discovery disputes that require the Court’s

attention must be called to the Court’s attention in time to be resolved before the

cutoff passes.

      Prior to filing any discovery motion, counsel for the moving party shall confer

in person or by videoconference with opposing counsel to attempt to resolve their

disagreements regarding discovery requests. If the parties are unable to resolve their

dispute in that manner, then the party filing the motion shall describe all efforts taken

to resolve the disputed matter and shall certify in the motion that the parties

conferred pursuant to this Order and were unable to reach an agreement. Failure to

include a statement of the parties’ attempt to resolve the matter without the Court’s

intervention may result in a denial of the motion.


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      If any party files a discovery motion, the opposing party shall file a response

within fourteen days of the date the motion is filed. Any reply brief is due within

seven days from the date the response is filed. On motion or of its own accord, the

Court may adjust this schedule as appropriate for good cause.

      The Court will be guided by the Federal Rules of Civil Procedure regarding

the number of depositions allowed by each party. The Court will not impose an

arbitrary cap on that number.

      Each of the parties shall have the right to develop a full record in advance of

trial. Accordingly, the Court is disposed to allow depositions of the plaintiffs and

their experts and depositions of defendants and their experts, including those who

may have testified in connection with the earlier preliminary injunction proceedings

conducted by the Court. However, the Court discourages repetitive questioning and

encourages any party to file an expeditious motion if the questioning is vexatious or

repetitive.

       The Court SETS these cases for a status conference at 8 a.m. Central Time on

April 10, 2024. The conference will occur by Zoom and the information will be

provided to the parties at a later date.

       Based on events subsequent to their filing and the agreement of the parties

during the February 21, 2024 status conference, Singleton Docs. 42, 57, and 147;

Milligan Docs. 69 and 223; and Caster Doc. 201 are DENIED as MOOT.


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DONE and ORDERED this 22nd day of February, 2024.




                         STANLEY MARCUS
                         UNITED STATES CIRCUIT JUDGE


                         _________________________________
                         ANNA M. MANASCO
                         UNITED STATES DISTRICT JUDGE




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